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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


STEPHEN F. CASS,

               Plaintiff,

v.
                                                            CIVIL ACTION NO.: 1:17-CV-11441
TOWN OF WAYLAND, WAYLAND
PUBLIC SCHOOLS, WAYLAND POLICE
DEPARTMENT, PAUL STEIN,
BRAD CROZIER, ALLYSON MIZOGUCHI
and JAMES BERGER [Misnamed],

               Defendants.


              REPLY MEMORANDUM IN FURTHER SUPPORT OF
         PLAINTIFF’S COUNSEL’S MOTION FOR LEAVE TO WITHDRAW

       Benjamin L. Hincks, Esq., Kristen S. Scammon, Esq., and the Firm of Torres,

Scammon, Hincks & Day, LLP (collectively, the “Firm”), counsel for Plaintiff Steven F. Cass,

hereby submit this Reply in further support of Counsel’s Motion for Leave to Withdraw.

      Although most of the points and arguments set forth in Defendants’ Opposition

Memorandum may be addressed at a hearing on Plaintiff’s Counsel’s Motion, should the Court

decide to convene such a hearing, Defendants’ positions that (i) Plaintiff’s Counsel ought to

have submitted an Affidavit “setting forth or evidencing facts on which the motion is

based…”, Def.’s Opp’n, 1 n.1, ECF No. 57, and (ii) Mr. Cass should called to a hearing to be

“questioned under oath about the ‘newly arisen personal conflict’ which forms the basis of this

Motion,” id. at 2, are both, respectfully, off-base and bear a brief response in this Reply.

      First, as Plaintiff’s Counsel asserted in their Motion, the fundamental ethical restrictions

of client confidentiality under Massachusetts Rule of Professional Conduct 1.6 preclude any
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 such disclosure of the underlying facts and circumstances forming the basis of this Motion.

       Second, should the Court wish to further explore such underlying facts in its

 consideration of this Motion, Plaintiff’s Counsel would urge the Court to make any such

 inquiry into this factual background in camera and ex parte so that the Defendants do not

 become privy to protected attorney-client communications and other confidential information

 to which they are not entitled. Further, given the sensitivity of this matter, Plaintiff’s Counsel

 suggests that the Court might consider referring any such hearing to a Magistrate Judge so as

 to shield the Trial Judge from disclosure of these underlying confidential and privileged

 communications.

                                              Respectfully submitted,

                                              STEPHEN F. CASS,

                                              By his attorneys,

                                               /s/ Benjamin L. Hincks
                                               Benjamin L. Hincks (BBO# 630685)
                                               Kristen S. Scammon (BBO# 634586)
                                               TORRES, SCAMMON, HINCKS & DAY, LLP
                                               35 India Street
                                               Boston, MA 02110
                                               T: (617) 307-4426
                                               E: bhincks@tshdlegal.com
                                               E: kscammon@tshdlegal.com

Dated: August 22, 2018

                                      Certificate of Service
        I hereby certify that on August 22, 2018, the above entitled document has been served on
all counsel of record through the Court’s ECF system. In addition, the above was also served by
email and regular mail on Stephen F. Cass.

                                                      /s/ Benjamin L. Hincks




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